Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 1 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 2 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 3 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 4 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 5 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 6 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 7 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 8 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 9 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 10 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 11 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 12 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 13 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 14 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 15 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 16 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 17 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 18 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 19 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 20 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 21 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 22 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 23 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 24 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 25 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 26 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 27 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 28 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 29 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 30 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 31 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 32 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 33 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 34 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 35 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 36 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 37 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 38 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 39 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 40 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 41 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 42 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 43 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 44 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 45 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 46 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 47 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 48 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 49 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 50 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 51 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 52 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 53 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 54 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 55 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 56 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 57 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 58 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 59 of 60
Case 2:15-bk-26483-BR   Doc 180 Filed 11/05/18 Entered 11/05/18 10:39:55   Desc
                         Main Document    Page 60 of 60
